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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                     §    Chapter 7
                                                           §
ALEXANDER E. JONES                                         §    Case No. 22-33553
                                                           §
          Debtor.                                          §

    AMENDED FINAL FEE APPLICATION OF MARTIN, DISIERE, JEFFERSON & WISDOM,
    L.L.P., SPECIAL COUNSEL TO THE DEBTOR, FOR ALLOWANCE AND PAYMENT OF
       COMPENSATION AND REIMBURSEMENT OF EXPENSES INCURRED FOR THE
                 PERIOD FROM JANUARY 8, 2023, THROUGH JUNE 14, 2024

                                     (Relates to dkt. nos. 186, 708, & 748)

                                        SUMMARY COVER SHEET

         Name of Applicant:                                                        Martin, Disiere, Jefferson &
                                                                                   Wisdom, LLP (“MDJW” or
                                                                                   “Applicant”) 1
         Applicant’s Role in case:                                                 Special Counsel to Debtor
         Indicate whether this is an interim or final application:                 Final
         Date Order of Employment was signed:                                      February 28, 2023
                                                     Beginning of Period           Ending of Period
         Total period covered in application January 8, 2024                       June 14, 2024
         Time periods covered by prior               N/A                           N/A
         Applications
         Total amounts awarded in all prior Applications                           N/A
         Total fees requested in this Application                                  $530,554.50 2
         Total professional fees requested in this application                     $526,045.50
         Total actual professional hours covered by this application               1,655.80
         Average hourly rate for professionals                                     $317.70

1
  To make this Application easier to follow, Applicant, for the most part, refers to itself as “MDJW” with respect to
actions or events occurring prior to the Debtor’s filing on December 2, 2022, and as “Applicant” with respect to actions
or events occurring after the date of filing.
2
  Applicant requests allowance of all appropriate applicable fees and expenses herein, on a final basis. However, as
explained below, under the terms of the engagement letter made part of the application to employ MDJW (see dkt.
138, p. 10), as well as the “FSS Retention Order” in the Free Speech Systems, LLC bankruptcy and the “Retention
Order” in this Case (as those terms are defined below), the Debtor and Free Speech Systems, LLC (“FSS”) are each
responsible for 50% of these fees and expenses.
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     Total paraprofessional fees requested in this application   $4,509.00
     Total paraprofessional hours covered by this application    31.20
     Average hourly rate for paraprofessionals                   $144.52
     Reimbursable expenses sought in this application            $18,934.01
     Total to be Paid to Priority Unsecured Creditors            N/A
     Anticipated % Dividend to Priority Unsecured Creditors      N/A
     Total to be Paid to General Unsecured Creditors             N/A
     Anticipated % Dividend to General Unsecured Creditors       N/A
     Date of Confirmation Hearing                                N/A
     Indicate whether plan has been confirmed                    No




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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                         §    Chapter 7
                                               §
ALEXANDER E. JONES                             §    Case No. 22-33553
                                               §
         Debtor.                               §


AMENDED FINAL FEE APPLICATION OF MARTIN, DISIERE, JEFFERSON & WISDOM,
 LLP, SPECIAL COUNSEL TO THE DEBTOR, FOR ALLOWANCE AND PAYMENT OF
            COMPENSATION AND REIMBURSEMENT OF EXPENSES
                       INCURRED FOR THE PERIOD
               FROM JANUARY 8, 2023, THROUGH JUNE 14, 2024

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
         YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
         CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
         AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
         RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
         FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
         THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
         THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
         TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
         FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
         HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
         HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
         MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
         THE MOTION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.


TO THE HONORABLE CHRISTOPHER LOPEZ, UNITED STATES BANKRUPTCY
JUDGE:

         MARTIN, DISIERE, JEFFERSON & WISDOM, L.L.P. files this Amended Final Fee

 Application (“Application”) for approval of Applicant’s fees in the total amount of $530,554.50

 and reimbursement of all expenses totaling $18,934.01 incurred during its employment as special

 counsel to Alexander E. Jones (“Debtor”). In support of this Application, Applicant respectfully

AMENDED FINAL FEE APPLICATION                                                        PAGE 3 OF 16
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 states as follows:

                                JURISDICTION AND VENUE

     1.        This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Standing Order of Reference from the United States District Court for the Southern

District of Texas. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

     2.        The statutory predicate for the relief sought herein is 11 U.S.C. §§ 330 and 331,

Federal Rule of Bankruptcy Procedure 2016, and the Local Rules of this Court.

       RETENTION OF APPLICANT AND FEES AND EXPENSES REQUESTED

     3.        On December 2, 2022 (“Petition Date”), Debtor commenced his Chapter 11 case

by filing a voluntary petition (the “Case”). His company and employer, Free Speech Systems,

LLC (“FSS”), had previously commenced Case No. 22-bk-60043 in this Court, by filing a petition

for relief under chapter 11, subchapter v, of the Bankruptcy Code on July 29, 2022 (the “FSS

Case”). Debtor filed his Application Of Debtor For An Order Authorizing Employment of Martin,

Disiere, Jefferson & Wisdom, L.L.P. As Special Counsel Under 11 US.C. § 327(e) on February 7,

2023 (dkt. # 138) (the “Retention Application”). On February 28, 2023, this Court approved the

retention of Applicant as special counsel for Debtor (the “Retention Order”) (dkt. # 186)

retroactive to January 8, 2023. The Retention Order incorporates the terms of the engagement letter

that is part of the Retention Application (see dkt. 138, p. 10), which provides that Applicant will

receive 50% of its fees from Debtor, with the remaining 50% to be paid by FSS. This fee and

expense sharing also comports with the order which authorized MDJW’s employment as special

counsel to FSS in the FSS Case (dkt. # 348 in the FSS Case, the “FSS Retention Order”), which

references the announcement by Jones and FSS agreeing to a 50/50 split of fees and expenses and

providing that 50% of the authorized fees and expenses shall be paid by FSS. Fifty percent of the


AMENDED FINAL FEE APPLICATION                                                          PAGE 4 OF 16
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fees and expenses requested in this Application would be $265,277.25 and $9,467.01, respectively.

                                 AMENDMENT NECESARY

     4.        On June 28, 2024, Applicant filed its original version of its final fee application in

this matter (dkt# 748). This Application amends the original version to correct certain errors and

more fully set forth the background pertaining to this Application.

                  APPLICANT’S RECEIPT OF THE WIRE TRANSFER

     5.        MDJW received a wire transfer from David Jones, Alex Jones’ father, in the amount

of $110,000 on November 9, 2022 (the “Wire”), which was before Debtor filed for bankruptcy on

December 2, 2022. The Wire was into MDJW’s trust account. On information and belief, the

funds constituting the Wire were not the property of Alex Jones (“Jones”). At the time the wire

was received, MDJW had been working for Jones and Free Speech Systems, LLC (“FSS”) since

April 25, 2022, and had not received any payment from either Jones or FSS against this work. As

memorialized by certain e-mails, the Wire was to be used to pay for Alex Jones’s 50% of the fees

and expenses incurred for MDJW’s representation, with the remainder to be held as a retainer.

However, MDJW’s accounting with respect to the application of the Wire did not fully reflect this

understanding until January 25, 2023. MDJW ultimately applied the wire to Jones’ 50% of the

fees and expenses incurred for MDJW’s work for FSS and Jones prior to Debtor’s filing, but the

manner of the application was circuitous.

                      THE ACCOUNTING RELATED TO THE WIRE

     6.        The funds representing the Wire were moved from MDJW’s trust account to its

operating account on November 10, 2022, the day after the wire was received, approximately three

weeks before Debtor’s bankruptcy was filed, and were never moved back to Applicant’s trust

account. Applicant’s accounting ledger for this matter with respect to its operating account shows



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that the Wire was initially applied to the first three invoices issued by MDJW with respect to its

work for Jones and FSS. All the invoices issued by Applicant with respect to its appellate work

and expenses from April 25, 2022, through the end of June 2024, are attached to this Application

as Exhibit A. 3 A copy of the accounting ledger (as of July 15, 2024) (the “Ledger”) is attached

as Exhibit B to this Application.

      7.          However, only the first of these three invoices had been issued by November 10,

2022, so the application of the Wire funds to second and third invoice could not have taken place

on November 10, 2022, as shown on the Ledger, except as to the first invoice. Rather, it appears

that from an accounting standpoint, the entries on November 10, 2022, at least to the second and

third invoices, did not actually take place on that date. 4 The first invoice issued by MDJW in

connection with its representation of Jones and FSS (invoice 242475) covered the period of April

25, 2022, through September 30, 2022, in the amount of $61,922.50 (the “First Invoice”).

Originally, as shown on the Ledger, MDJW applied 60% ($37,153.50) of the $61,922.50 total of

the First Invoice against the Wire funds in MDJW’s operating account. The Ledger also shows

that 60% ($20,312.39) of the total of the second invoice 5 issued by MDJW in the amount of

$33,553.39 was applied on November 10, 2022, and that 60% ($21,562.97) of the total of the third

invoice issued by MDJW in the amount of $35,938.29 was also applied on November 10, 2022.

As the Court may recall, the fee agreement in the FSS bankruptcy called for a 60/40 split, but

ultimately the Court required a 50/50 split in its FSS Retention Order. The proposed split was 40%

Jones and 60% FSS, but, being confused, MDJW’s accounting department used the Wire to pay



3
  The final invoice in Exhibit A is a revision of the prior final invoice and includes time from a separate invoice that
was incorporated therein, but is not part of Exhibit A as it would be duplicate.
4
  These entries were without any intent to deceive but merely the way the accounting was undertaken.
5
  The second invoice number (245374) covered work and expenses in November 2022, and was issued on December
21, 2022. The third invoice number (245275) covered work in October 2022, and was also issued on December 21,
2022. As such, the invoice numbers likely should have been switched to make the invoices chronologically correct.

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60% of the first three invoices, with respect to Jones’ share, instead of the 50% authorized by the

FSS Retention Order. Therefore, the Ledger reflects a total of $79,028.86 being applied to the

first three invoices on November 10, 2022. The Ledger also shows that this application of a total

of $79,028.86 in the operating account was backed out on the same day, November 10, 2022,

although the actual date or dates the accounting entries backing out the entries were made almost

certainly occurred after November 10, 2022. Subsequently, the Wire funds were reapplied by

Applicant’s accounting department using the correct 50/50 split.

      8.         Specifically, MDJW’s accounting department applied the Wire funds that had been

moved to its operating account to Jones’ 50% share of the first five invoices issued by MDJW,

with the remainder of the Wire being applied against the sixth invoice issued by MDJW. The sums

applied were $30,961.25, $16,323.51, $17,318.36, $11,050.00, and $14,652.50 against the first

five invoices, along with the remainder of $19,694.38 6 of the Wire against the sixth invoice. As

reflected on the Ledger, the accounting entries applying the funds to the first four invoices were

made on January 25, 2023. The accounting entry as to the fifth invoice (invoice 247412) was made

on March 1, 2023, and the application as to the sixth invoice (invoice 248474) was made on April

12, 2023.

      9.         Because the application of the Wire by MDJW was made according to the

instructions received to apply to Wire to outstanding invoices, and because at the time the Wire

was received from David Jones, his son had not filed for bankruptcy, and because and the money

came from his father, not Jones, MDJW asserts it was legitimate to apply the Wire against the

entirety of the First Invoice, not just to the portion of the First Invoice post-dating the beginning

of the retention period in the FSS Case (August 30, 2022.) However, Applicant only seeks


6
 The total of the sixth invoice (invoice 248474) is $59,399.64, 50% of which is $29,580.74, thereby necessitating
only a partial payment of this invoice until March 2024 when Debtor finally made a payment on his account.

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approval of the application of the Wire from MDJW’s operating account to 50% of the work

reflected in the First Invoice dating after August 30, 2022, through September 2022, and to 50%

of the work and expenses reflected on the second and third invoices, which cover the months of

October and November 2022. These are the authorized periods under the FSS Retention Order

prior to the Debtor’s filing on December 2, 2022. 7 $26,137.50 of the work encompassed by the

First Invoice fell outside the period covered by the FSS Retention Order, leaving a net of

$37,785.00 of authorized work. Together with the 50% payments applied to the second and third

invoices, the balance of the Wire is corresponding reduced by the sum of $52,788.64 (which equals

50% of the total of $105,577.27 in fees and expenses incurred by FSS and Jones during the period

of August 30, 2022, to December 2, 2022). MDJW submits that the remainder of the Wire of

$57,211.36 is the appropriate figure to be used in determining what portion of the Wire should be

considered as a retainer to be applied against the fees and expenses incurred during the Application

Period, and seeks Court approval of the application of the Wire in this modified fashion.

                    APPLICANT’S REQUEST FOR THE COURT’S APPROVAL
                       OF THE MODIFIED APPLICATION OF THE WIRE

       10.          The application of the funds constituting the Wire in this manner clearly comports

with the intent of the parties, and the intent of the Court as set forth in the Retention Order in this

Case as well as the FSS Retention Order. To require MDJW to apply the Wire solely to Debtor’s

50% share of the hours expended and expenses advanced by MDJW after January 8, 2023 (the

date of retroactive employment stated in the Retention Order) deprives MDJW of any ready means

to be compensated for Jones’ 50% of MDJW’s work prior to Debtor’s filing, on top of the lack of

any payment by Debtor to MDJW for 50% of its work during the five week gap period between

Debtor’s filing and the date of MDJW’s retention in this case. And it should also be kept in mind


7
    The first entry on the fourth invoice (invoice 245480) is on December 2, 2022, the date of Debtor’s filing.

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that MDJW has no ready means of being compensated by either Debtor or FSS for the gap period

in the FSS Case of April 25, 2022, through August 30, 2022, under Applicant’s proposed

distribution. Therefore, Applicant respectfully requests permission from the Court to apply the

Wire 50% against the appellate work and expenses reflected on Applicant’s invoices covering

the period of August 30, 2022, through December 1, 2022, and to treat the remainder of the

Wire funds after such application as a retainer to be applied against Applicant’s invoices

covering the period of January 8, 2023, through June 14, 2024, the date of the conversion of

Debtor’s case to a chapter 7 proceeding (dkt. 708).

                                THE APPLICATION PERIOD

    11.        This Application includes fees and expenses incurred during the entire period of

the Applicant’s engagement (the “Application Period”) (January 8, 2023, through June 14, 2024).

Applicant asserts such fees and expenses were reasonable, necessary, and appropriate, in

connection with its representation of Debtor and FSS.

               NATURE AND EXTENT OF LEGAL SERVICES PROVIDED

    12.        Applicant has provided extensive legal services to the Debtor during the

Application Period. Attached to this Application as Exhibit A are all invoices generated by MDJW

for its work for FSS and Debtor from April 25, 2022, through June 2024. (Although all invoices

are being included in Exhibit A, the invoices within the Application Period are those covering the

period from January 8, 2023, through June 14, 2024.) Timekeeping entries were generated by

Applicant’s personnel who have worked on this engagement. These entries describe Applicant’s

services on the Debtor’s and FSS’ behalf, as well as all expenses incurred. Exhibit A specifies (i)

the identity of each attorney and paralegal who provided compensable services, (ii) the person’s

individual billing rate, and (iii) the total number of hours expended by that person.



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    13.        Applicant has broken down its legal services rendered according to the project

categories propounded by the Guidelines of the Office of the United States Trustee. The pertinent

project categories are:

                          • Asset Analysis and Recovery
                          • Asset Disposition
                          • Assumption and Rejection of Leases and Contracts
                          • Avoidance Action Analysis
                          • Business Operations
                          • Case Administration
                          • Claims Administration and Objections
                          • Employment and Fee Applications
                          • Fee/Employment Objections
                          • Financing and Cash Collateral
                          • Litigation
                          • Meetings and Communications with Creditors
                          • Non-working Travel
                          • Plan of Reorganization
                          • Relief from Stay Proceedings
    14.        The figures for the time and amounts billed per project category cover the

Application Period. The following chart generally describes the services rendered by Applicant to

the Debtor in each of the relevant project categories, with more additional detail provided in

Exhibit A:

                               FEES INCURRED IN PERIOD
              CATEGORY OF SERVICE                             HOURS              FEES
  Asset Analysis and Recovery                                         0                  0
 Asset Disposition                                                    0                  0
 Assumption and Rejection of Leases and Contracts                     0                  0
  Avoidance Action Analysis                                           0                  0



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    Business Operations                                                      0                  0
    Case Administration                                                      0                  0
    Claims Administration and Objections                                     0                  0
    Employment and Fee Applications                                          0                  0
    Fee/Employment Objections                                                0                  0
    Financing and Cash Collateral                                            0                  0
    Meetings and Communications with Creditors                               0                  0
    Plan of Reorganization                                                   0                  0
    Litigation                                                        1672.00        $527,367.00
    Relief from Stay Proceedings                                             0                  0
    Non-working Travel 8                                                15.00          $3,187.50
    Totals                                                            1687.00        $530,554.50



                 REQUEST FOR REIMBURSEMENT OF EXPENSES INCURRED

       15.          While providing legal services to the Debtor, Applicant incurred certain reasonable

and necessary out-of-pocket expenses while representing the Debtor. A detailed record of these

expenses is included in the invoices comprising Exhibit A. Expenses were billed at actual cost.

Applicant does not charge for long-distance telephone, outgoing faxes, and in-house charges for

copying and postage. Outside copies ($.15 per page) and postage are billed at the rate charged by

the vendor. Applicant has made no request for general overhead expenses.

       16.          Applicant believes that its expense request is reasonable, appropriate, and necessary

and requests that the Court grant it reimbursement for $18,934.01 in reimbursable expenses

incurred during the Application Period by Applicant on Debtor’s behalf.




8
    Billed at one-half time.

AMENDED FINAL FEE APPLICATION                                                              PAGE 11 OF 16
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                              FACTORS AFFECTING COMPENSATION

         17.        Courts recognize that factors other than the number of hours spent and the hourly

     rate normally charged may be considered in fixing the amount of reasonable attorneys’ fees to be

     awarded in a bankruptcy proceeding. Such factors are outlined in In re First Colonial Corporation

     of America, 544 F.2d 1291 (5th Cir. 1977) and Johnson v. Georgia Highway Express, Inc., 488

     F.2d 714 (5th Cir. 1974). One or more of these Johnson factors may serve as a basis for enhancing

     the hourly rate that might otherwise be allowed. Wolf v. Frank, 555 F.2d 1213 (5th Cir. 1987). The

     Johnson factors are discussed in further detail below.

A.   Time and Labor Required. Exhibit A lists in detail all the work performed for which

     compensation is sought. Time entries are broken out by the date the services were rendered, the

     individual performing such services, a description of the services, and the time expended.

     Applicant believes that such detail establishes that its request for compensation is reasonable. All

     the services specified were actual and necessary for the Debtor to perform its statutory duties.

B.   Novelty and Difficulty. As outlined in more detail in Exhibit A, this case has involved several

     procedural phases and challenging legal issues. First, Applicant engaged in post-trial motions

     practice before the 459th District Court of Travis County, Texas to preserve error for Debtor’s

     appeal. Then, the Applicant worked with co-counsel to draft and file the Debtor’s appeal to the

     Third Court of Appeals. This appeal addressed many complex legal issues, including:

            Ɣ Whether death penalty sanctions unrelated to the claimed harm were unnecessarily
              harsh;
            Ɣ Whether by construing causation to be “established,” the trial court relieved Plaintiffs
              of their burden of proving causation;
            Ɣ Whether Plaintiffs’ intentional infliction of emotional distress claims were really
              defamation claims and, therefore, barred;
            Ɣ Whether the trial court violated the Texas Damages Act by improperly bifurcating the
              trial;

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            Ɣ Whether joint and several liability can be imposed on Defendants for exemplary
              damages;
            Ɣ Whether the trial court improperly permitted Plaintiffs to amend their petition to
              allege new causes of action after trial; and
            Ɣ Whether the trial court violated established precedent by awarding Plaintiffs
              approximately $1,000,000 in attorney’s fees that were not supported by
              contemporaneous detailed billing records.
C.   Skill Required to Perform the Legal Services Properly. This case required counsel to be

     familiar with various state laws related to defamation, intentional infliction of emotional distress,

     personal injury law, and state court trial and appellate practice.

D.   Preclusion of Other Employment. Given the multiple, complex legal issues involved in the

     appellate work and the significant time required to address the issues, MDJW’s representation in

     this case has limited Applicant’s ability to accept other employment. Applicant is a mid-sized

     firm, but has relatively few lawyers capable of addressing the multiple, complex, issues presented

     in the appeal. Therefore, the nearly 1700 hours spent by Applicant representing Debtor and FSS

     has required a significant amount of Applicant’s capacity.

E.   Customary Fee. The hourly rates for each professional are summarized above and in Exhibit A

     filed in support of this Application. The attorneys’ rates reflect the usual rates charged by the

     Applicant for appellate related work. The hourly rates requested by Applicant compare favorably

     with the rates charged for similar appellate work by law firms representing similarly situated

     debtors, and are less than those charged by larger firms.

F.   Whether the Fee is Fixed or Contingent. Applicant’s fee is neither fixed nor contingent, other

     than the contingency of Court allowance and available assets to pay professionals. It is based on

     the actual total number of hours worked plus the actual costs incurred.




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G.   Amount Involved and Results Obtained. Exhibit A details Applicant’s work during the period

     the services were rendered, and includes the individual performing the work, the description of the

     work, and the time expended.         Applicant believes Exhibit A establishes that its requested

     compensation is reasonable. Applicant and The Reynal Firm, P.C., its co-counsel, ably argued and

     briefed the issues post-trial to preserve all issues on appeal, and have prepared and filed the

     appellate brief. Appellees have not yet filed their brief and the appeal is still pending.

H.   Experience, Reputation, and Ability of the Attorneys. Christopher Martin, whose work was

     key to Applicant’s representation, has decades of experience in advocacy. He is highly regarded

     by his peers with a very positive reputation in the legal community.

I.   “Undesirability” of Case. Representation of the Debtor in this case was undesirable. Debtor’s

     principal is a controversial figure and the subject of public ire. Further, given the contentious nature

     of the Sandy Hook Litigation and the underlying claims, even matters that should have been easily

     agreed upon were fiercely contested.

J.   Awards in Similar Cases. Based on the Applicant’s experience in the Texas legal market and

     throughout the country, the Applicant’s fees are lower than those allowed in proceedings of similar

     scope for the services rendered and results obtained.




     AMENDED FINAL FEE APPLICATION                                                             PAGE 14 OF 16
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                                              CONCLUSION

       18.        Pursuant to this Application, Applicant seeks final approval of (i) compensation in

the total sum of $530,554.50 and (ii) allowance of expenses in the total sum of $18,934.01.

Applicant further seeks compensation and reimbursement of the unpaid portion of Debtor’s 50%

responsibility of those amounts. Applicant requests approval and payment of all approved,

accrued, and unpaid fees and expenses. Specifically, after application of the $57,536.76 remainder

after the application of the Wire in the manner as requested herein, and the application of the

$181,971.70 payment made on account by Debtor on March 1, 2024 (the only payment made by

Debtor), the sum of $35,561.20 is remains owing by Debtor to Applicant against half of the fees

of $530,554.50 and half of the expenses of $18,934.01 incurred during the Application Period. 9

                                        REQUEST FOR RELIEF

             WHEREFORE, Applicant respectfully requests that the Court enter an order (i)

    approving this Application; (ii) allowing the reasonable attorney fees and expenses claimed

    herein as allowed administrative expenses of Debtor’s estate; (iii) approving the Applicant’s

    application of the Wire against Applicant’s invoices in the manner requested herein, (iv)

    authorizing and directing the payment of the remaining balance of $35,561.20 of the

    administrative expenses to Applicant promptly; and (v) granting such further and alternative

    relief to which Applicant is justly entitled.




9
  The calculations are as follows: $110,000.00 Wire minus $52,788.64 applied as requested equals $57,211.36
remaining of the Wire. The fees of $530,554.50 plus the expenses of $18,934.01 incurred during the Application
Period total $549,488.51. One half that sum is $274,744.26. $274,744.26 minus $57,211.36 minus $181,971.70 equals
$35,561.20.

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       Respectfully submitted July 18, 2024.

                                       MARTIN, DISIERE, JEFFERSON & WISDOM L.L.P.
                                       808 Travis, Suite 1100
                                       Houston, Texas 77002
                                       Telephone (713) 632-1700
                                       Email: tinkham@mdjwlaw.com

                                       By: /s/ Jeffrey G. Tinkham
                                       Jeffrey G. Tinkham, Of Counsel
                                       Texas Bar No. 20056300
                                       S.D. Tex. No. 4725

                                       SPECIAL COUNSEL FOR THE DEBTOR


                                 CERTIFICATE OF SERVICE

       On July 18, 2024, a true and correct copy of this amended fee application was filed with

the Court and served electronically upon those parties registered to receive electronic notice via

the Court’s CM/ECF system. The amended application will be mailed to those creditors and parties

of interest who are not registered to receive electronic notice.

                                                        /s/ Jeffrey G. Tinkham
                                                          Jeffrey G. Tinkham




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